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                     UNITED STATES DISTRICT COURT
                        DISTRICT OF NEW JERSEY

 SHIRLEY CRAWFORD, MATTHEW
 JORDAN, MELISSA ALEJANDRO,                     Civil Action No. 2:22-cv-02828-
 NICOLA SOBERS, JANICE BUTLER,                  MCA-AME
 PAULINE DION, LISA SAGHY, and
 RICHARD ANGEMI, individually and               STIPULATION AND
 on behalf of all those similarly situated,     [PROPOSED] ORDER TO
                                                VACATE PENDING
                   Plaintiffs,                  DEADLINES
              v.

 SAMSUNG ELECTRONICS
 AMERICA, INC., and SAMSUNG
 ELECTRONICS CO., LTD.,

                   Defendants.

      Plaintiffs Shirley Crawford, Matthew Jordan, Melissa Alejandro, Nicola

Sobers, Janice Butler, Pauline Dion, Lisa Saghy, and Richard Angemi (collectively,

“Plaintiffs”) and Defendants Samsung Electronics America, Inc. (“SEA”) and

Samsung Electronics Co., Ltd. (“SEC” and together with SEA, “Defendants”), by

counsel, stipulate as follows:

      WHEREAS, Plaintiffs and Defendants recently attended private mediation;

      WHEREAS, following the successful mediation, the parties are in the process

of concluding this matter;

      WHEREAS, the parties presently anticipate filing a joint stipulation for

dismissal of this action in the next 30 days;



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      WHEREAS, to preserve party and Court resources pending dismissal, the

parties wish to vacate all upcoming dates in this matter, including (i) any deadlines

for Plaintiffs or Defendants to file pleadings, (ii) any deadlines for discovery or

discovery status reports; and (iii) the Status Conference presently scheduled for June

28, 2024, at 10:00 a.m. (Dkt. 68);

      WHEREAS, in the unexpected event that this action is not dismissed in the

next 30 days, the parties propose setting a deadline to submit a joint status report by

July 10, 2024, which deadline will be obviated by the anticipated dismissal;

      WHEREAS, there is good cause to grant this Stipulation because it will

preserve litigant resources and promote judicial economy;

      IT IS HEREBY STIPULATED AND AGREED, by and between the

undersigned counsel for the parties, and subject to approval by the Court, that:

      1. All upcoming deadlines in this matter are vacated, including any deadlines

          for Plaintiffs or Defendants to file pleadings, or any deadlines for

          discovery or discovery status reports;

      2. The Status Conference presently scheduled for June 28, 2024, at 10:00 a.m.

          (Dkt. 68) is vacated;

      3. If for any unforeseen reason this action is not dismissed in its entirety by

          July 10, 2024, the parties shall file a joint status report by that date.

IT IS SO STIPULATED, through Counsel of Record.



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By: /s/ Jason L. Lichtman                 By: /s/ Liza M. Walsh
    Jason L. Lichtman                          Liza M. Walsh

Date: June 12, 2024                       Date: June 12, 2024


SO ORDERED this _____ day of June 2024


                             _____________________________
                             ANDRÉ M. ESPINOSA
                             United States Magistrate Judge




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